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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

in Re: KATRINA CANAL BREACHES * CIVIL ACTION NO.: 05-4182 "K"(2)
CONSOLIDATED LITIGATION *
* JUDGE DUVAL
* MAG. WILKINSON
PERTAINS TO: "

*

LEVEE 07-4444 (Deruise v. Allstate) *

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ORDER OF DISMISSAL
Considering the foregoing Joint Motion to Dismiss:
ITISHEREBY ORDERED thatthe claims herein of the plaintiffs, Jacqueline Deruise
wife of/and Raymond Deruise, be and are hereby dismissed, with prejudice, each party to
bear its own costs.

New Orleans, Louisiana this day of , 2007.

U.S. DISTRICT JUDGE
